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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


  TAMARA WAREKA p/k/a/                         §
  TAMARA WILLIAMS                              §
  Plaintiff,                                   §
                                               §
  V.                                           §   CASE NO. 1:21-cv-00382-LY-SH
                                               §
    ANA SQUARE d/b/a ANA                       §
    SQUARE                                     §
    MICROBLADING; and                          §
    DOES 1                                     §
  Though 10 inclusive,
  Defendants.                                  §




                       DEFENDANT’ RESPONSES TO PLAINTIFF’S
                            REQUEST FOR DISCLOSURE



To:   Tamara Wareka p/k/a/ Tamara Williams, by and through her attorney of record, Mathew K.
Higbee Higbee & Associates 1504 Brookhollow Dr. Ste 112 Santa Ana CA 92705

         Defendant, Ana Square d/b/a Ana Square Microblading, serves these responses to
Plaintiff’s Request for Disclosures under the Federal Rules of Civil Procedure 26.



                                                     Respectfully submitted,

                                                     By: /s/ Carlos M. Quinonez
                                                     Carlos M. Quinonez
                                                     Texas Bar No. 24056172
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                                                       Email: carlos@quinonezlawfirm.com
                                                       11890 Vista Del Sol Dr., Suite A-115
                                                       El Paso, Texas 79936
                                                       Tel. (915) 533-0009
                                                       Fax. (888) 301-1116
                                                       Attorney for Plaintiff Defendant



                                      CERTIFICATE OF SERVICE

       By my signature below, I certify that a true and correct copy of the foregoing document was

served on counsel for the Plaintiff in the manner indicated, on October 29, 2021, as follows:

       VIA EMAIL: mhigbee@higbeeassociates.com

Mathew K. Higbee Higbee & Associates 1504 Brookhollow Dr. Ste 112 Santa Ana CA 92705

       Attorney for Plaintiff
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                          RESPONSES TO REQUEST FOR DISCLOSURES

         Defendant, Ana Square provides her initial disclosures to Plaintiff. These disclosures are
based on Defendant’s preliminary understanding of the facts as set forth in the Petition and Answer.
Defendant, reserves the right to supplement or amend these disclosures, including pursuant to Fed. R.
Civ. P. 26(e), after learning more about the nature and details of the facts.

Response to request under Rule 26 1 (a) (i):

       Tamara Wareka p/k/a/ Tamara Williams, Plaintiff
       Mathew K. Higbee Higbee &
       Associates 1504 Brookhollow
       Dr. Ste 112 Santa Ana CA 92705
       Attorney for Plaintiff

       Ana Square d/b/a Ana Square Microblading, Defendant
       c/o Carlos M. Quinonez
       Texas Bar No. 24056172
       Email: carlos@quinonezlawfirm.com
       11890 Vista Del Sol Dr., Suite A-115
       El Paso, Texas 79936
       Tel. (915) 533-0009
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       Jaime Square,
       11890 Vista Del Sol Dr.,
       El Paso, Texas 79936
       Tel. (915) 533-0009
       Fax. (888) 301-1116

       Yaneli Campos Castillo
       Edmundo Martinez Street
       Col Primavera
       Tampico, Tampico Mexico

        Defendant, reserves the right to supplement or amend these disclosures, including pursuant to
Fed. R. Civ. P. 26(e), after learning more about the nature and details of the facts.


Response to request under Rule 26 (1) (a) (ii):

Documents provided in Response to Request for Production, and any documents produced by
Plaintiff and Defendant.
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        Defendant, reserves the right to supplement or amend these disclosures, including pursuant to
Fed. R. Civ. P. 26(e), after learning more about the nature and details of the facts.
Response to request under Rule 26 (1)(a) (iii):

No damages are sought at this time.

        Defendant, reserves the right to supplement or amend these disclosures, including pursuant to
Fed. R. Civ. P. 26(e), after learning more about the nature and details of the facts.

Response to request under Rule 26 (1) (a) (iv):

There are no indemnity or insurance agreements.
        Defendant, reserves the right to supplement or amend these disclosures, including pursuant to
Fed. R. Civ. P. 26(e), after learning more about the nature and details of the facts.
